            Case 8:15-bk-10728-MGW             Doc 151    Filed 06/04/18     Page 1 of 2



                                        ORDERED.


     Dated: June 01, 2018




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov

IN RE:

KAY N. JOHNSON,                                                    Case No. 8:15-bk-10728-MGW

                                   Debtor. /

                          Order Granting Trustee’s Third Motion to
                          Compel Turnover of Property of the Estate

        This matter came before the court for hearing on May 24, 2018, to consider Trustee’s Third
Motion to Compel Turnover of Property of the Estate (Doc. #141). There appeared before me
Melanie Archer Newby, Esq., representing Debtor, and David B McEwen, Esq., representing
Trustee. The court has heard argument of counsel, considered the court file, and determined that
Trustee’s motion should be granted. For the reasons stated and recorded in open court, which shall
constitute the ruling of this court, it is:

       ORDERED that:

       1.      Trustee’s Third Motion to Compel Turnover of Property of the Estate (Doc. #141)
               is granted.

       2.      Debtor shall, within ten (10) days, turn over to Trustee the real estate located at 4001
               Beneva Rd., Unit #105, Sarasota, Florida 34233, legally described as:

               UNIT 105, BENEVA RIDGE, A CONDOMINIUM ACCORDING
               TO THE DECLARATION OF CONDOMINIUM RECORDED IN
               OR BOOK 1140 PAGE 1097, AS AMENDED, AND ACCORDING
               TO THE PLAT THEREOF RECORDED IN CONDOMINIUM
               BOOK 9, PAGES 26, 26A AND 26B, AS AMENDED, OF THE
               PUBLIC RECORDS OF SARASOTA COUNTY, FLORIDA.
              Case 8:15-bk-10728-MGW                      Doc 151         Filed 06/04/18           Page 2 of 2




                    TOGETHER WITH ANY AND ALL AMENDMENTS TO THE
                    DECLARATION AND ANY UNDIVIDED INTEREST IN THE
                    COMMON ELEMENTS OR APPURTENANCES THERETO.

                    TAX ID# 0070051005

        3.     Debtor shall execute and deliver to Trustee a quit claim deed to the above described
real property.

         4.     Debtor shall deliver to Trustee the keys to the real property, any documents relating
to the real property, including, without limitation, the lease with Tenant, condominium association
notices, insurance policies and declarations sheets, and real estate tax notices.

        5.     Debtor shall turnover to Trustee the $8,165.36 received from the Chapter 13 trustee,
including any rent check or payment received from Tenant for the month of June, 2018, as well as
the security deposit, if any, received from Tenant.

Attorney David B. McEwen, Esquire, is directed to serve a copy of this order/judgment on interested
parties who are non-CM/ECF users and to file a proof of service within 3 days of entry of the order.
_______

*All References to “Debtor” shall include and refer to both of the debtors in a case filed jointly by
two individuals.

cc: U. S. Trustee @ USTPRegion21.TP.ecu@usdoj.com
Trustee: Traci K. Stevenson tracikstevenson@gmail.com, tks@trustesolutions.net; alishamariehall@gmail.com;
         tafllc@verizon.net
Trustee’s Atty.: David B. McEwen, Esq., 111 - 2nd Avenue Northeast, #306, St. Petersburg, FL 33701-3444
Debtor’s Atty.: Melanie Archer Newby melanie.newby@jodatlawgroup.com, katie.clark@jodatlawgroup.com;
         cristy.rocca@jodatlawgroup.com
Debtor: Kay N. Johnson, 4001 Beneva Rd., #312, Sarasota, FL 34233-1045
Tenant: Marcella James, 4001 Beneva Rd., #105, Sarasota, FL 34233
Interested Persons

S:\temp-transfer\Documents WIP\Temp transfers holding\Stevenson holding\15-10728 Johnson\Ord-Granting_3rd_Mtn4TO(Final).wpd
